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                                                         U.S. Department of Justice


                                                         Tax Division
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 DJ 5-52-20275
 CMN 2017102332
                                                        July 14, 2023


 Via ECF

 Honorable Peggy Kuo
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                  Re:     United States v. Lax et al.
                          No. 1:18-cv-4061 (E.D.N.Y.)

 Dear Judge Kuo:

        Pursuant to the Court’s docket text order of June 13, 2023, the Plaintiff United States and
 Defendants Zlaty Schwartz, KGK Jewelry LLC, Judith Lax and J.L. (a minor), 299 Hewes Street
 Realty Corp., Morris Schlager, Gitty Schlager, Joseph Green, Hannah Green, Henny Green,
 Hershi Green, and JBAM Realty LLC report on the status of issues to be discussed at the
 upcoming telephonic status conference in this case scheduled for July 18, 2023, at 11:00 a.m.
 The other Defendants did not participate in this report.

        Regarding the 299-301 Hewes Street mediation, pursuant to the United States-Judith Lax
 settlement agreement, Judith Lax has a monthly payment obligation to the United States that
 began on December 1, 2022.

        A continued settlement conference regarding the United States’ claims against Zlaty
 Schwartz took place on June 30, 2023. The settlement conference did not result in resolution of
 the United States’ claims against Zlaty Schwartz in this case. However, a continued settlement
 conference is scheduled for August 23, 2023.

        With respect to the United States’ settlement discussions with Defendant JBAM Realty
 LLC regarding the claim against it alleged in Count 12 of the Amended Complaint (lien
 enforcement), the United States has revisited such discussions after receiving additional
 information it requested. Regarding Intervenor Aron Lax, the United States recently received
 additional information requested by the United States and plans to resume settlement discussions
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 with Aron Lax regarding the real property that is the subject of his intervention in this case.
 However, if there is insufficient progress, the United States plans to seek a stipulation of
 dismissal of Aron Lax as a party to this case. With respect to the United States’ settlement
 discussions with Defendant KGK Jewelry LLC regarding a claim in Count 12, the United States
 has revisited such discussions; however, if there is insufficient progress, the United States will
 inform the Court that the United States intends to proceed with the pending litigation as to this
 claim. The United States has ongoing settlement discussions with Defendant Shaindy Lax
 regarding all claims against her in this case. The United States also has ongoing discussions with
 Defendant Moshe Lax in an effort to consensually resolve its claims against him in this case.



                                                     Respectfully submitted,

                                                      /s/ Philip L. Bednar

                                                     PHILIP L. BEDNAR
                                                     Trial Attorney
                                                     Civil Trial Section, Northern Region
